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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

Beverly Watson,on behalf of herself and all)                    Civil Action No.: 3:14-3594-TLW
others similarly situated,                   )
                                             )                    COMPLAINT
                               Plaintiffs,   )                (Jury Trial Demanded)
                                             )                    (Class Action)
v.                                           )
                                             )
Robert A. McDonald, in his official capacity)
as Secretary of Veterans Affairs,            )
                                             )
Timothy McMurry, in his official capacity as)
the Medical Director of William Jennings)
Bryan Dorn VA Medical Center,                )
                                             )
Ruth Mustard, RN, in her official capacity as)
the Associate Director for Patient)
Care/Nursing Services of William Jennings)
Bryan Dorn VA Medical Center,                )
                                             )
David L. Omura, in his official capacity as)
the Associate Director of William Jennings)
Bryan Dorn VA Medical Center, and            )
                                             )
Jon Zivony, in his official capacity as the)
Assistant Director of William Jennings Bryan)
Dorn VA Medical Center,                      )
                                             )
Sue Panfil, in her official capacity as the)
Privacy Officer of William Jennings Bryan)
Dorn VA Medical Center,                      )
                                             )
                          Defendants.        )


       COMES NOW PLAINTIFF, Beverly Watson, on behalf of herself and all others similarly

situated, who respectfully shows unto the Court as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for declaratory and injunctive relief and money damages for

Defendants’ violations of federal law, including but not limited to, the Administrative Procedure
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Act (“APA”), and the Privacy Act (“Privacy Act”), each as amended. Plaintiff seeks to represent

the individuals who have been placed under threat and in reasonable fear of identity theft,

destruction of credit, and financial and health insurance fraud because of Defendants’ willful and

intentional actions and reckless disregard for the safeguarding of these citizens’ personal

identifying and medical information (the “Class”).

       2.      On or about July 14, 2014, Defendants suffered the loss or theft of four boxes of

pathology reports (“Records”) containing the private personal and medical information (“Personal

Information”) of at least 2,179 veterans who had received or were receiving medical treatment in

Defendants’ facilities in this state, specifically including the William Jennings Bryan Dorn VA

Medical Center (“Dorn VAMC”). These Records included patients’ names, full Social Security

numbers, and pathology reports. Once Defendants lost control of the Records, Defendants failed

to timely report the event to Plaintiff and affected veterans. Upon information and belief,

Defendants waited nearly two months before notifying anyone outside of VA of the loss of the

Records, without good cause for that delay.

       3.      The loss of the Records on July 14, 2014 comes on the heels of an incident that

took place on February 11, 2013 in which Defendants suffered the loss or theft of a laptop computer

containing the private personal and medical information of approximately 7,500 veterans who had

received or were receiving medical treatment at Dorn VAMC. A lawsuit was filed on behalf of

the affected veterans and is currently pending in the United States District Court, District of South

Carolina (Richard G. Beck, et al. v. Eric K. Shinseki, et. al, C/A No. 3:13-CV-999-TLW).




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       4.      The Personal Information on the Records was not properly safeguarded by

Defendants as required by law, policy, minimum accepted industry standards, and repeated public

representations by the Department of Veterans Affairs (“VA” or “Department”).

       5.      Defendants failed to properly perform the duties and responsibilities of their

respective VA positions by failing to require compliance with applicable federal statutes,

regulations, policies, and procedures regarding Privacy Act records and failed to ensure that

Plaintiffs’ Personal Information was protected from the intentional, willful, reckless, arbitrary, and

capricious actions and inactions of other Defendants and their agents, servants, and employees.

       6.      Defendants flagrantly disregarded the privacy interests of affected veterans,

including Plaintiffs, by illegally, intentionally, and willfully ignoring, and knowingly allowing its

employees, contractors, servants, and other Department officials to ignore, the requirements of

federal statutes and regulations, applicable Department policies and procedures for properly

creating, maintaining, accessing, disclosing, and using Personal Information under their control.

       7.      Defendants’ intentional, willful, and reckless disregard for Plaintiffs’ privacy

interests are most obvious in their failing to make even the most rudimentary effort to safeguard

Plaintiffs’ Personal Information from unauthorized disclosure and theft despite the 2013 incident

involving the loss of an unencrypted laptop and nearly after a notorious 2006 event involving the

loss of the Personal Information of more than 26 million veterans and several subsequent similar

events. Defendants’ failure to implement competent safeguards, or to base any safeguards on a

reasonable and up-to-date security threat analysis, allowed Plaintiffs’ Personal Information to

literally walk out the door.




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        8.      Defendants’ intentional, willful, and reckless actions and inactions have inflicted,

and will long continue to inflict actual damages and real costs on Plaintiff and the proposed Class.

                                  JURISDICTION AND VENUE

        9.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 because this is a

civil action arising under the laws of the United States. Jurisdiction is also invoked pursuant to

5 U.S.C. §§ 552a(g)(1), (5) because this is a civil action to enforce a liability created under 5 U.S.C.

§ 552a after September 27, 1975.

        10.     Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claims occurred in this district.

                                              PARTIES

        11.     Plaintiff Beverly Watson is a citizen and resident of Richland County, South

Carolina, and is an honorably discharged veteran who has received medical treatment and other

health care at Dorn VAMC.

        12.     Defendant Robert McDonald is the Secretary of Veterans Affairs and, among other

duties, was the official responsible for the proper execution and administration of all laws

administered by the Department of Veterans Affairs at all times complained of herein.

        13.     Defendant Timothy McMurry is the Dorn VAMC Medical Director and, among

other duties, was an official responsible for the proper execution and administration of the laws

relevant to operation of the facility at all times complained of herein.

        14.     Defendant Ruth Mustard, RN, was the Dorn VAMC Director for Patient

Care/Nursing Services and, among other things, was responsible for the proper execution and

administration of the laws relevant to operation of the facility at all times complained of herein.


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        15.     Defendant David L. Omura was the Dorn VAMC Associate Director and, among

other duties, was an official responsible for the proper execution and administration of the laws

relevant to operation of the facility at all times complained of herein.

        16.     Defendant Jon Zivony was the Dorn VAMC Assistant Director and, among other

duties, was an official responsible for the proper execution and administration of the laws relevant

to operation of the facility at all times complained of herein.

        17.     Defendant Sue Panfil is the Dorn VAMC Privacy Officer and, among other duties,

was an official responsible for the proper execution and administration of the laws relevant to

operation of the facility at all times complained of herein.

        18.     All Defendants are sued in their official capacities.

        19.     The parties to this action and the acts and omissions complained of herein are

subject to the jurisdiction of this court.

                                  STATEMENT OF THE FACTS

        20.     On or about July 14, 2014, Defendants suffered the loss or theft of four boxes of

pathology reports (“Records”) containing the private personal and medical information (“Personal

Information”) of at least 2,179 veterans who had received or were receiving medical treatment in

Defendants’ facilities in this state, specifically including the William Jennings Bryan Dorn VA

Medical Center (“Dorn VAMC”). The Records contained individual identifying information

including, but not limited to, names, social security numbers, and veterans’ confidential medical

and disability information.

        21.     The loss of the Records on July 14, 2014, comes on the heels of an incident that

took place on February 11, 2013 in which Defendants suffered the loss or theft of a laptop computer


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containing the private personal and medical information of approximately 7,500 veterans who had

received or were receiving medical treatment at Dorn VAMC. A lawsuit was filed on behalf of

the affected veterans and is currently pending in the United States District Court, District of South

Carolina (Richard G. Beck, et al. v. Eric K. Shinseki, et. al, C/A No. 3:13-CV-999-TLW).

       22.     To date, the Records have not been returned to Defendants and it, and the Personal

Information contained in it, remains unaccounted for.

                                       APA VIOLATIONS

       23.     As of at least July 14, 2013, Defendants were required, at a minimum, to comply

with the “Privacy Act Guidelines – July 1, 1975” published in the Federal Register on July 9, 1975,

unless the requirements therein were subsequently modified or eliminated. In addition, Defendants

were required to comply with numerous federal statutes, regulations, technical standards, as well

as Department policies, procedures, and rules promulgated since the Department’s 2006 loss of a

laptop containing the personal information of 26 million veterans.

       24.     Well before July 14, 2013, Department regulations, e.g., 38 C.F.R. § 1.576, and

numerous Department policies, directives, and procedures required Defendants to safeguard an

individual against an invasion of privacy, to collect, maintain, use, or disseminate records of

personally identifiable information in a manner that assured that such action was for a necessary

and lawful purpose, and to ensure that adequate safeguards are provided to prevent misuse of such

information.

       25.     Well before July 14, 2013, other federal rules, regulations, procedures and guidance

documents established minimum standards for Defendants’ actions in gathering, maintaining,

disclosing, using, and safeguarding personal and medical information. Examples of this guidance


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include Office of Management and Budget guidelines, Federal Information Processing Standards,

and National Institute of Standards and Technology (“NIST”) standards.

         26.    Defendants failed to comply, and failed to ensure compliance, with the applicable

laws and standards or to have adequate and appropriate Dorn VAMC policies and procedures in

place to prevent the compromise of Plaintiff’s Personal Information.

         27.    Defendants’ failures are especially egregious in light of previously acknowledged

safeguard failures, including a security breach at the very same facility in 2013 and a breach at

another VA medical facility in 2007 under essentially indistinguishable circumstances, and widely

disseminated reports of the lack of adequate Department information security safeguards. The

latest failure of safeguards also comes in the midst of continuing representations to the Court in

Beck that the Dorn facility had corrected the deficiencies in the very safeguards that underlie this

latest event.

                              UNAUTHORIZED DISCLOSURE

         28.    The Privacy Act requires that personal information maintained by government

agencies, including VA, only be disclosed (1) upon written authorization of the individual to whom

the information pertains or (2) to persons who have been authorized to access the information

pursuant to applicable regulations and procedures and then only for specified “routine” uses.

         29.    Plaintiff and members of the proposed class did not give Defendants written

permission for their Privacy Act Records and other Personal Information to be placed in unsecured

boxes.

         30.    This use of Plaintiff’s and the proposed class’s Personal Information was not

authorized pursuant to law or Defendants’ administrative processes, in that there was no


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submission of a request for access and a formal authorization granting access had not been

executed.

       31.     Defendants’ failure to physically safeguard Plaintiff’s and members of the proposed

class’s Personal Information is further evidenced in that the individual or individuals that took and

retain physical control of the Records containing Plaintiffs’ Personal Information was not

challenged by Defendants, or any other VA employees, regarding his or her authority to possess,

access, or use the Records and remain unknown and at large.

                                  FAILURE TO SAFEGUARD

       32.     Minimum requirements and standards for federal information security have long

been available to federal agencies and officials, and the Department and Defendants are, or should

be, well aware of their responsibilities and duties under those requirements.           Further, the

Department has made almost innumerable commitments to veterans, Congress, and the American

people that it would properly safeguard personal information since 2006 when it lost control of the

Personal Information of an estimated 26 million veterans and their families.

       33.     Defendants have not met their commitments and have again – at least twice in two

years - failed to protect veterans’ Personal Information, including Plaintiffs’ Personal Information.

Defendants’ failures are all the more egregious in this case because they were aware of ongoing

gaps in security identified by other security breaches, including a 2013 loss of an unencrypted

laptop at Dorn VAMC and the 2007 loss of a laptop improperly containing personal information

from a Birmingham VA medical facility under essentially the same circumstances as in this case.

       34.     It is also clear that Defendants failed to implement an adequate physical security

program at Dorn VAMC and have not implemented any means to identify unauthorized personnel


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in areas containing medical records and veterans’ Personal Information or to prevent the removal

of sensitive records from Dorn VAMC workplaces.

                          INTENTIONAL AND WILLFUL VIOLATIONS

       35.     One or more of Defendants’ employees, agents, contractors, or servants

intentionally and willfully transferred Plaintiffs’ Personal Information to the missing boxes and

improperly attempted to transfer or store the information in violation of the applicable legal and

administrative requirements and without appropriate safeguards.

       36.     Numerous federal laws require that Defendants implement safeguards for

information systems that support VA operations which include (1) periodic assessments of the risk

and magnitude of harm that could result from the unauthorized access and use of that information

and (2) policies and procedures that are based on those risk assessments. Defendants did not

require or ensure compliance with these fundamental information security requirements.

       37.     Long-standing weaknesses in the Department’s security systems were responsible

for the loss of the Records on July 14, 2014. Defendants failed to heed years of warnings about

lax security from its own Inspector General and other agencies, such as the Government

Accountability Office, and failed to implement numerous and repeated recommendations for

correction of these deficiencies at Dorn VAMC.

       38.     Defendants knew, or should have known, that their officers, employees,

contractors, agents, or servants had ignored or failed to enforce VA and other federal requirements

for ensuring that Personal Information, including Privacy Act records, were accessible only by

properly authorized individuals, but did not require compliance therewith.




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          39.   VA officials, including Defendants, intentionally and willfully ignored specific and

repeatedly identified weaknesses and vulnerabilities regarding the storage, transfer, protection and

safeguarding of veterans’ Personal Information.

          40.   Defendants’ inaction towards the persistent, unabated, and unaddressed security

threats presented by the unmonitored activities of their employees, agents, contractors, and

servants constitutes intentional and willful conduct so reckless as to exceed the standard of conduct

for gross negligence.

          41.   Further exacerbating the harm from their inactions, once Defendants lost control of

Plaintiffs’ Records at Dorn VAMC, Defendants failed to timely report the event to Plaintiff or the

affected veterans. Upon information and belief, Defendants waited nearly two months before

notifying anyone outside of VA of the safeguards failure, without good cause for that delay as

concern for further embarrassment of the Department or Defendants is not good cause as a matter

of law.

                            ADVERSE EFFECTS AND DAMAGES

          42.   Each of Defendants’ failures caused Plaintiff and the proposed class adverse

impacts and harm including, but not limited to, the threat of current and future substantial harm

from identity theft and other misuse of their Personal Information. The threat of identity theft,

medical insurance abuse, and similar adverse effects caused by Defendants’ violations requires

continuing affirmative actions by Plaintiffs to recover peace of mind, emotional stability, and

personal security including, but not limited to, frequently obtaining and reviewing credit reports,

bank statements, health insurance reports, and other similar information, purchasing credit watch

services, and shifting financial accounts.


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       43.     Plaintiff and members of the proposed class have suffered, and will continue to

suffer for the foreseeable future, tangible and intangible harm as a result of Defendants’ failures

and violations. This harm includes pecuniary and non-pecuniary damages.

                              CLASS ACTION ALLEGATIONS

       44.     This action is maintainable as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and 23(b)(1)-(3).

       45.     The class consists of all persons who have been adversely effected by Defendants’

violations of law and Defendants’ failure to safeguard Plaintiffs’ Personal Information.

       46.     The class is so numerous that joinder of all members is impracticable. The class

size is at least 2,179, which is the number of individuals whose Personal Information Defendants

admit was collected and maintained within four boxes of pathology reports reported missing.

       47.     Joinder of class members’ individual actions is impractical because of the

geographical diversity of class members, the limited ability of individual class members to institute

separate suits, and the general nature of the underlying action and relief sought.

       48.     Class representatives’ counsel is appropriately qualified and experienced to

represent the class.

       49.     There are substantial questions of fact and law common to all class members. The

legal issues raised in this Complaint include violations of the APA and the Privacy Act. The

factual issues of whether Defendants violated one or more legal requirements are common to all

class members. The facts, circumstances, and merits of the case, therefore, apply equally to all

class members.




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          50.    The claims of the representative Plaintiff are typical of the claims of the class

members. Representative Plaintiff is a military veteran who reasonably believes that her Personal

Information was improperly safeguarded and improperly disclosed by Defendants.

          51.    The representative Plaintiff will fairly and adequately protect the interests of the

class. Furthermore, the representative Plaintiff’s claims span the breadth of issues raised in this

action.

          52.    The prosecution of separate actions by individual class members would create a

risk of inconsistent results that could establish incompatible standards of conduct for Defendants.

          53.    Defendants’ liability for damages can be established by facts and circumstances

common to the class as a whole and do not require the examination of Plaintiff’s individual

circumstances.

          54.    Questions of law and fact common to members of the class predominate over any

questions affecting only individual members.

          55.    A class action is superior in this case to other methods for a fair and efficient

adjudication of the controversy because:        (A) the common interests of the class members

predominate over any individual interest in controlling prosecution or control of separate actions;

(B) no similar litigation concerning the controversy is known to have been commenced by

members of the class; (C) concentrating litigation of this action in this Court is appropriate to

ensure appropriate, consistent, and efficient resolution of the constitutional issues raised in the

district where the offending conduct occurred, continues to occur, and could occur in the future;

and (D) the difficulties in managing an action involving this class are significantly reduced by




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existing databases of potential class members prepared by the government and veteran service

organizations.

                                     FIRST CLAIM FOR RELIEF

                           Violations of the Administrative Procedure Act

       56.       Plaintiff reasserts her allegations set forth above and incorporate them by reference

into this First Claim for Relief.

       57.       On July 14, 2014, a number of federal rules, regulations, procedures, and standards

governed Defendants’ actions in gathering, maintaining, disclosing, using, and safeguarding

Privacy Act records and systems of records. Each of the applicable federal rules, regulations,

procedures, and standards were final actions of a promulgating federal agency.

       58.       Defendants were ultimately responsible for control, direction, and management of

VA’s processes, policies, and procedures for compliance with all applicable federal rules,

regulations, guidelines, and standards applicable to Personal Information under the control of Dorn

VAMC.

       59.       Defendants intentionally, willfully, and unlawfully withheld and unreasonably

delayed, required action, or acted so recklessly as to exceed the standard of conduct for gross

negligence with respect to the applicable federal rules, regulations, guidelines, and standards for

implementing the Privacy Act and associated safeguards at Dorn VAMC. Defendants’ actions in

this regard were also arbitrary, capricious, and an abuse of discretion and were taken without

observance of procedure required by law.

       60.       Plaintiff was adversely affected and aggrieved as a result of Defendants’ improper

actions and inactions and is entitled to equitable relief for Defendants’ violations of Plaintiff’s


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rights pursuant to the APA, 5 U.S.C. §§ 702, 704, and 706, and the inherent equitable powers of

the Court.

                               SECOND CLAIM FOR RELIEF

                     Violation of the Privacy Act – Unauthorized Disclosure

       61.     Plaintiffs reassert their allegations set forth above and incorporate them by

reference into this Second Claim for Relief.

       62.     Defendants were responsible for ensuring that only individuals authorized pursuant

to approved rules, regulations, procedures, and standards compliant with the Privacy Act could

access Plaintiff’s Privacy Act records at the Dorn VAMC.

       63.     Defendants failed to ensure that only VA employees, contractors, agents, and

servants who had submitted access authorization requests, completed background checks, and met

each of the other authorization process requirements could access VA Privacy Act systems of

records, including Plaintiffs’ Personal Information. Upon information and belief, Defendants also

failed to maintain any records of granted authorizations, requested or completed background

checks, or to ensure that the sensitivity level that employees, agents, contractors and/or servants

seeking to access Privacy Act records at or from the Dorn VAMC matched the sensitivity level of

the information to be accessed. Defendants’ failures allowed an unauthorized individual or

individuals to access and use Plaintiffs’ Privacy Act records contained in the four boxes of

pathology reports for unauthorized and improper purposes.

       64.     Defendants flagrantly disregarded Plaintiff’s privacy rights and caused Plaintiffs

adverse effects by disclosing Plaintiffs’ Privacy Act records to unauthorized persons, in violation

of 5 U.S.C. § 552a(b).


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       65.     Defendant’s violations of the Privacy Act disclosure requirements were intentional

or willful, or were the result of conduct so reckless as to exceed the standard of conduct for gross

negligence.

       66.     Defendants’ intentional and willful Privacy Act violations caused Plaintiffs to

suffer actual damages and Plaintiffs are entitled to monetary damages and the costs of this action

together with reasonable attorney fees pursuant to the Privacy Act and 5 U.S.C. § 552a(g).

                                 THIRD CLAIM FOR RELIEF

                       Violation of the Privacy Act – Failure to Safeguard

       67.     Plaintiffs reasserts their allegations set forth above and incorporate them by

reference into this Third Claim for Relief.

       68.     Defendants flagrantly disregarded Plaintiffs’ privacy interests and caused Plaintiffs

harm by failing to establish and ensure lawful compliance with appropriate administrative,

technical, and physical safeguards requirements to insure the security and confidentiality of

records and to protect against anticipated threats or hazards to the records’ security or integrity,

which could result in substantial harm, embarrassment, inconvenience, or unfairness to any

individual on whom information was maintained, in violation of 5 U.S.C. §§ 552a(e)(9), (10).

       69.     Defendants’ violation of the Privacy Act safeguards requirements and failure to

prevent or mitigate the effects of unauthorized and unmonitored transfer of sensitive data,

including Privacy Act records, was either intentional and willful or the result of professional

incompetence so reckless as to exceed the standard of conduct for gross negligence.




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       70.     Defendants’ intentional and willful Privacy Act violations caused Plaintiffs to

suffer actual damages and Plaintiffs are entitled to monetary damages and the costs of this action

together with reasonable attorney fees pursuant to the Privacy Act and 5 U.S.C. § 552a(g).

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray as follows:

        (a)    That this Court issue a declaratory judgment that Defendants violated, and

               continue to violate, Plaintiffs’ rights under the APA and Privacy Act;

       (b)     That this Court compel agency action unlawfully withheld or unreasonably

               delayed related to Defendants’ compliance with VA policies, procedures,

               directives, regulations, and rules relating to the safeguarding of veterans’

               protected health information at Dorn VAMC;

       (c)     That this Court enjoin Defendants and the officers, agents, contractors,

               employees, and servants of the Department, and those acting for and with

               them, to account for all Privacy Act records in the possession of the

               Department’s Columbia Regional Office and Dorn VAMC or under their

               control, including all copies, whether authorized or unauthorized, on

               Department and personal computers, and on any data storage medium and

               to cause to be recovered or permanently destroyed any records or Personal

               Information derived from those records that is found in any unauthorized or

               improper location or maintained contrary to applicable standards for

               information security and safeguards, the Court to retain jurisdiction until

               such accounting is favorably reviewed by a panel of acknowledged experts


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       in information security independent of Defendants and approved by the

       Court;

 (d)   That this Court grant to Plaintiffs judgment against Defendants for damages

       in an amount calculated to compensate each individual who suffered

       damages resulting from Defendants’ violations, actions, and inactions;

 (e)   That this Court grant to Plaintiffs judgment against Defendants for punitive

       damages to the degree allowed by law in an amount calculated to deter

       Defendants from continuing to ignore their duties and responsibilities to

       safeguard the Personal Information entrusted to them;

 (f)   That this Court grant to Plaintiffs their costs and reasonable experts’ and

       attorney’s fees;

 (g)   For an order certifying the class defined herein, appointing undersigned

       counsel as class counsel, approving Plaintiff as class representative, and

       requiring that notice be provided to the class; and

 (h)   That this Court grant such additional relief as the Court deems proper and

       just.




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                                          Respectfully Submitted,

                                          MIKE KELLY LAW GROUP, LLC

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September 9, 2014




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